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				FLEMING v. HYDE2016 OK 23Case Number: 113844Decided: 03/01/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 23, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

JENNIFER FLEMING, Plaintiff/Appellant,
v.
RACHEL WHITNEY HYDE, Defendant/Appellee.
ON APPEAL FROM THE DISTRICT COURT OF LOGAN COUNTY,
THE HONORABLE LOUIS A. DUEL, PRESIDING
ORDER OF SUMMARY DISPOSITION
¶1 Rule 1.201 of the Oklahoma Supreme Court Rules provides that "[i]n any case in which it appears that a prior controlling appellate decision is dispositive of the appeal, the court may summarily affirm or reverse, citing in its order of summary disposition this rule and the controlling decision." Okla. S. Ct. Rule 1.201.
¶2 After reviewing the record in this case, THE COURT FINDS that our recent decision in Ramey v. Sutton, 2015 OK 79, 362 P.3d 217, disposes of the issues in this case.
¶3 In Ramey, we made clear our intent "to recognize those unmarried same sex couples who, prior to Bishop [Bishop v. Smith, 760 F.3d 1070 (10th Cir.), cert. denied, 574 U.S. _____, 135 S. Ct. 271, 190 L. Ed. 2d 139 (2014)] and Obergefell,[Obergefell v. Hodges, 576 U.S. ____, 135 S. Ct. 2584, 192 L.Ed2d 609, (2014)] entered into committed relationships, engaged in family planning with the intent to parent jointly and then shared in those responsibilities after the child was born." Id. at ¶19. 
¶4 Fleming made a proposal of marriage that was accepted by Hyde. The couple exchanged rings to signify their commitment to one another. They expressed interest in having a family and raising a child together. The couple made financial adjustments to prepare for becoming parents. Fleming and Hyde consulted with a fertilization physician to become pregnant. At the request of their physician, the couple met with a counselor for evaluation and a determination as to their fitness to become parents.
¶5 Fleming attended all pre-natal appointments. Fleming was present in the delivery room and participated in the delivery of their child. The couple prepared a baby book together. They both attended pediatrician appointments with their child. Fleming was listed as the other "mom" at the daycare. The couple held themselves out as a family to their friends, family and the public. 
¶6 We find that the district court erred in granting the motion to dismiss, and that Fleming has standing to pursue a best interests of the child hearing. 
¶7 IT IS THEREFORE ORDERED that the district court's order of dismissal is vacated, and the cause remanded to the district court for further proceedings. 
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 29TH DAY OF MARCH, 2016.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR




	Citationizer© Summary of Documents Citing This Document
	
	
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	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
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	Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;2015 OK 79, 362 P.3d 217, RAMEY v. SUTTONDiscussed


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
